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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 JANEL GRANT,                                      :
                                                   :
                Plaintiff,                         : Case No.: 3:24-cv-00090-SFR
                                                   :
 vs.                                               :
                                                   :
 WORLD WRESTLING                                   :
 ENTERTAINMENT, INC. n/k/a WORLD                   :
 WRESTLING ENTERTAINMENT, LLC;                     :
 VINCENT K. MCMAHON; and JOHN                      : January 31, 2025
 LAURINAITIS,                                      :
                                                   :
                Defendants.                        :

             PLAINTIFF’S MOTION FOR LEAVE TO AMEND COMPLAINT

       Pursuant to Rules 15(a)(2) and 16(b)(4) of the Federal Rules of Civil Procedure, Plaintiff

Janel Grant (“Ms. Grant” or “Plaintiff”), through her undersigned counsel, hereby respectfully

move the Court for leave to amend her Complaint (ECF No. 1) in the above-captioned action. A

copy of the redline version and a clean version of the proposed First Amended Complaint are

attached to the accompanying Plaintiff’s Memorandum Of Law In Support Of Her Motion For

Leave To File Amended Complaint as Exhibits A and B, respectively. The purpose of the

amendments is to address key factual developments that came to light while this action was stayed

and to plead her claims with greater particularity.

       Defendants object to the filing of the First Amended Complaint. L. Civ. R. 7(f)(1).

       WHEREFORE, for the reasons set forth herein and in the accompanying memorandum of

law, Plaintiff respectfully requests that the Court grant her leave to file the proposed First Amended

Complaint.
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                          PLAINTIFF JANEL GRANT


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                                  CERTIFICATE OF SERVICE

        This is to certify that on January 31, 2025, a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by e-mail to all parties by operation of the Court’s electronic filing system and by mail to all parties

that are unable to accept electronic filing. Parties may access this filing through the Court’s

electronic system.


                                                /s/ Erica O. Nolan
                                                Erica O. Nolan




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